     Case 5:21-cv-00748-RDP-GMB Document 21 Filed 10/20/21 Page 1 of 2                    FILED
                                                                                 2021 Oct-20 PM 01:14
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                       UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA
                          NORTHEASTERN DIVISION

STEPHEN DEWAYNE GRAY,                     )
                                          )
       Plaintiff,                         )
                                          )
v.                                        )   Case No. 5:21-cv-748-RDP-GMB
                                          )
MADISON COUNTY SHERIFF’S                  )
DEPARTMENT, et al.,                       )
                                          )
       Defendants.                        )

                                     ORDER

      Plaintiff Stephen Dewayne Gray has filed a motion to amend his complaint

and attached a proposed amended complaint. Doc. 19. For good cause, it is

ORDERED that the motion to amend (Doc. 19) is GRANTED. The court will

consider this filing to be Gray’s amended complaint in this action.

      Gray also has filed a motion for leave to proceed in forma pauperis. Doc. 20.

Because Gray’s filings demonstrate substantial compliance with the court’s orders

of June 2, 2021 (Doc. 8), July 12, 2021 (Doc. 11), and July 19, 2021 (Doc. 13), it is

further ORDERED that the report and recommendation entered on August 30, 2021

(Doc. 16) is WITHDRAWN.

      The court will address the motion for leave to proceed in forma pauperis in a

separate order.
Case 5:21-cv-00748-RDP-GMB Document 21 Filed 10/20/21 Page 2 of 2




DONE and ORDERED on October 20, 2021.


                           _________________________________
                           GRAY M. BORDEN
                           UNITED STATES MAGISTRATE JUDGE




                                2
